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       EXHIBIT 23
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  1                          UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
  2                            CHARLOTTESVILLE DIVISION

  3    ELIZABETH SINES, et al.,
                                                No. 3:17-cv-72
  4                           Plaintiffs,
                                               Charlottesville, Virginia
  5         vs.                                January 4, 2019
                                               2:04 p.m.
  6    JASON KESSLER, et al.,
                           Defendants.
  7
                       TRANSCRIPT OF TELEPHONIC MOTION HEARING
  8                       BEFORE THE HONORABLE JOEL C. HOPPE
                            UNITED STATES MAGISTRATE JUDGE.
  9    APPEARANCES:

 10    For the Plaintiffs:

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 22
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 25    Proceedings recorded by FTR; computer-assisted transcription.
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  1    with the order, I guess in particular for Mr. Ray and Mr. Heimbach

  2    on the certifications?

  3                MS. TENZER:     I don't know if we're going to address that

  4    in the motion to withdraw.       Those are still outstanding --

  5                THE COURT:    All right.

  6                MS. TENZER:     -- those certifications.

  7                THE COURT:    Mr. Kolenich, what is the status of those?

  8                MR. KOLENICH:     Judge, as I think I emailed to chambers,

  9    Mr. Heimbach's response to the last court order was to terminate my

 10    representation.     So he has fired myself and Mr. Woodard and forbid

 11    us to take any actions on his behalf.       The Court will also note

 12    that he hasn't called in today, even though I did transmit the time

 13    and call-in information.       So that's the status on Heimbach.

 14                Mosely's status is well-known to the Court.

 15                Mr. Ray's information, that is on me.        I haven't

 16    completed getting that information from Mr. Ray yet.          He is fully

 17    cooperating with the process.       And we'll get that just as soon as

 18    possible.     And, of course, the contract issue, the statement of

 19    work, is a separate issue.       And we'll take that up with Ms. Tenzer.

 20                THE COURT:    Where -- Mr. Kolenich, it is news to me that

 21    Heimbach has terminated your representation.        I don't recall seeing

 22    that.

 23                MR. KOLENICH:     Sorry, Your Honor.   I emailed it -- I

 24    thought I did -- to chambers.       Maybe I sent it to the wrong one; I

 25    don't know.     I deal with many federal courts.       But Mr. Heimbach did
